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                Exhibit F
           FILED UNDER SEAL
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Geraldine W. Young

From:                              LARITZ, Tina <Tina.LaRitz@freshfields.com>
Sent:                              Monday, May 6, 2024 7:25 PM
To:                                M. Miles Robinson; Nathan Damweber; Geraldine W. Young; Gabriel Culver;
                                   Melonie.DeRose; cole.pritchett@oag.texas.gov; Daniella Torrealba
Cc:                                SESSIONS, Justina (JKS); jhunsberger@axinn.com; dpearl@axinn.com; MCCALLUM,
                                   Robert; Freeborn, Andrew L.; Bradley Justus
Subject:                           Production of Redacted GOOG-DOJ-27760500 (             Ex. 212/    Ex. 268)


[External Email – Use Caution]


Counsel,

On Thursday, May 2, Mr. Robinson introduced GOOG-DOJ-27760500 as Exhibit 268 during the 30(b)(6) deposition of
              . Though the record did not reveal any privileged information, we identified privileged material in the document
and instructed Counsel that we would be clawing it back. We noted we would provide a redacted version of the exhibit at
a later time. Mr. Robinson did not object.

Accordingly, we write to inform that the redacted version of GOOG-DOJ-27760500 has been formally produced today.
These redactions are the same as those applied in the clawed-back version of Exhibit 212 (GOOG-DOJ-27760500) that
Google’s counsel, Mr. Hunsberger, provided to Plaintiffs’ counsel, Mr. Damweber, during the 30(b)(1) deposition of
        on May 2.

As such, under the Confidentiality Order, we request that Plaintiffs promptly return, sequester, or destroy the unredacted
versions of GOOG-DOJ-27760500 (including, to the extent Plaintiffs intend to challenge the privilege claim, by limiting
review of the unredacted versions to the designated members of the Privilege Committee).

Thanks,
Tina


Tina LaRitz
Associate

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